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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  C. TATE GEORGE,
                                                      HONORABLE. ANNE E. THOMPSON
                         Petitioner,
                                                                   Civil Action
                                                                No. 17-2641 (AET)
         v.

  UNITED STATES OF AMERICA,                                             ORDER

                         Respondents.


       This matter having come before the Court on the United States' response to the Order to

Show Cause (ECF No. 24); the United States having requested an extension of time to answer

the second amended petition (ECF No. 26); in the interests of justice

       IT IS this   ;(1 t o f      11Azre-.,,~ . . ,2017, hereby
       ORDERED that the Order to Show Cause is VACATED. Respondent's answer to the

second amended petition shall be filed no later than January 21, 2018; and it is further

       ORDERED thatthe Clerk of the Court shall send a copy of this Order to Petitioner by

regular mail.



                                                     U.S. District Judge
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